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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT PENNSYLVANIA
___________________________________
EUI CHUNG a/k/a BEN CHUNG              :
and ARLENE CASTILLO, h/w               :
1892 Flintlock Circle                  :,
Lansdale, PA 19446                     :
        Plaintiffs,                    :
        v.                             : No.
MITCHELL MCCREERY                      :
150 E. Atlantic Avenue, #12            :
Hi-Nella, NJ 08083                     :
       and                             : JURY TRIAL DEMANDED
OCEAN HOME HEALTH SUPPLY, LLC :
1000 Airport Road, #101               :
Lakewood, N J08701                    :
        Defendants                    : CIVIL ACTION
________________________________ ___ :


                                          COMPLAINT

        Plaintiffs, Eui Chung a/k/a Ben Chung and Arlene Castillo, husband and wife, by and

through their undersigned counsel, file the within Complaint, and aver as follows:

I.     PARTIES

       1.       Plaintiff, Eui Chung a/k/a Ben Chung, and Arlene Castillo, his wife, are adult

individuals and resident of the Commonwealth of Pennsylvania, with an address at 1892

Flintlock Circle, Lansdale, PA 19446.

       2.       Defendant, Mitchell McCreery. (hereinafter “Defendant McCreery”), is an

individual and resident of New Jersey with an 150 E. Atlantic Avenue, #12 Hi-Nella, NJ, 08083.

       3.       Defendant Ocean Home Health Supply, LLC (“Defendant Ocean”) is a foreign

business organization with an address at 1000 Airport Road, #101 Lakewood, NJ, 08701.

Defendant Ocean is at all times material hereto doing business in the Commonwealth of

Pennsylvania.




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       4.      At all times material times hereto, Defendant McCreery was acting within the

course and scope of his agency, master/servant, and/or employment relationship with Defendant

Ocean herein when his vehicle collided with Plaintiff’s motorcycle.

       5.      At all times material hereto, Defendant Ocean, was acting by and through its

agents, ostensible agents, servants, and/or employees, who were acting within the course and

scope of their agency, master/servant, and/or employment relationship.

       6.      At all times material hereto, Defendant Ocean was the owner of vehicle driven by

Defendant McCreery.

       7.      Venue is predicated in Philadelphia County as all events giving rise to the

cause of action occurred in Philadelphia.

II.    FACTS

       8.      On April 27, 2017, Plaintiff was travelling northbound on his motorcycle.

Plaintiff stopped at the 1000 block of Welsh Road, Philadelphia, Pennsylvania, because of a red

light. Plaintiff was in the right turn lane and had his signal on to turn right.

       9.      Defendant McCreery was driving a Ford vehicle owned by Defendant Ocean and

was next to Plaintiff in the lane that was clearly marked to proceed “straight”, when suddenly

and without warning, Defendant McCreery illegally turned right and struck Plaintiff.

       10.     Plaintiff was thrown from his motorcycle and landed on the road. The tire on

Defendant McCreery’s vehicle ran over Plaintiff’s head.

       11.     Plaintiff was transported from the scene of the accident to Aria Torresdale

Hospital and treated for head wounds and a concussion.

       12.     As a result of the accident, Plaintiff motorcycle sustained property damage.


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        13.      Further, as a direct and proximate result of the accident, Plaintiff suffered a

concussion, posttraumatic encephalopathy, headaches, anxiety and depression, nightmares, and

disequilibrium, with short-term memory loss, all of which may be permanent in nature.


                              COUNT I
                            NEGLIGENCE
  PLAINTIFFS v. MITCHELL MCCREERY and OCEAN HOME HEALTH SUPPLY,
                               LLC

       14.       Plaintiffs repeat each and every allegation of all preceding paragraphs as though

set forth herein at length.

       15.       The negligence, recklessness, and carelessness of Defendants McCreery and

Ocean, individually, jointly and/or severally, acting through their agents, servants, and/or

employees who were acting in the course and scope of their employment consisted, inter alia, of

the following:

                 a.     failing to properly maintain the vehicle;

                 b.     failing to have said vehicle under proper and adequate control under the
                        circumstances;
                 c.     operating vehicle in a careless and reckless manner;

                 d.     failing to turn said vehicle in an effort to avoid the collision;

                 e.     failing to yield the right of way;

                 f.     failing to proceed with caution;

                 g.     being inattentive to the position and activity of other vehicles traveling on
                        the roadway;

                 h.     failing to timely apply the brakes;

                 i.     failing to maintain a proper lookout on the highway;

                 j.     operating said vehicle without due regard for the rights, safety, and
                        position of others on the highway;



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               k.      being inattentive to the conditions of traffic

               l.      illegally changing lanes without signaling.

               m.      negligently entrusting vehicle to Defendant McCreery;

               n.      permitting an unqualified driver to operate said vehicle;

               o.      failing to properly train, educate, and/or instruct Defendant McCreery, in
                       the proper and safe operation of said vehicle in its then existing condition;

               p.      failing to properly supervise Defendant McCreery, under the
                       circumstances

               q.      negligence per se


        16.    As a direct and proximate result of this accident, Plaintiff Eui Chung suffered

serious and severe bodily injuries, which are or may be permanent in nature, including, but not

limited to concussion, posttraumatic encephalopathy, headaches, anxiety and depression,

nightmares, disequilibrium, cervical and lumbar injuries. In addition, Plaintiff aggravated some

preexisting cervical and lumbar radiculopathy..

        17.    As a further result of this accident, Plaintiff has been obligated to receive medical

attention and care for his injuries, and to incur various expenses for said care, and may be

obligated to continue to expend such sums and expenditures for an indefinite time in the future,

therefore, Plaintiff is entitled to recover any and all medical expenses and costs.

        18.    As a further result of this accident, Plaintiff has been unable to attend to his daily

chores, duties, and occupations, and may be unable to do so for an indefinite period of time in

the future.

        19.    As a further result of this accident, Plaintiff has or may continue to in the future

incur other financial expenses or losses that he is entitled to recover.

        20.    As a further result of this accident, Plaintiff has suffered severe physical pain,


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aches, fear, mental anguish, humiliation, inconvenience, and loss of life's pleasures, and he may

continue to suffer the same for an indefinite time in the future.

        WHEREFORE, Plaintiff, Eui Chung demands judgment in his favor and against Mitchell

McCreery and Ocean Home Health Supply, LLC, jointly and severally for compensatory

damages in excess of One Hundred Thousand Dollars ($100,000), plus fees, costs and

expenditures, interest, and any further relief as is just and appropriate.

                                       COUNT II
                               NEGLIGENT ENTRUSTMENT
                     PLAINTIFFS v. OCEAN HOME HEALTH SUPPLY, LLC

         21.    Plaintiffs repeat each and every allegation of all preceding paragraphs as though

set forth herein at length.

        22.     The negligence, carelessness, and, recklessness of the defendant, Ocean consisted,

inter alia, of the following:

                a.      negligently entrusting the vehicle to defendant, McCreery


                b.      permitting an unqualified driver to operate said vehicle;

                c.      failing to properly train, educate, and/or instruct defendant, McCreery, in
                        the proper and safe operation of said tractor-trailer in its then existing
                        condition;

                d.      failing to properly train, educate, and instruct defendant, McCreery as an
                        agent for Ocean ;

                e.      failing to properly supervise defendant, McCreery under the
                        circumstances;

                f.      violating the provisions of the Restatement (Second) of Torts;




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        23.     As a direct and proximate result of this accident, Plaintiff Eui Chung suffered

serious and severe bodily injuries, which are or may be permanent in nature, including, but not

limited to injuries to his head.

        24.     As a further result of this accident, Plaintiff has been obligated to receive medical

attention and care for his injuries, and to incur various expenses for said care, and may be

obligated to continue to expend such sums and expenditures for an indefinite time in the future,

therefore, Plaintiff is entitled to recover any and all medical expenses and costs.

        25.     As a further result of this accident, Plaintiff has been unable to attend to his daily

chores, duties, and occupations, and may be unable to do so for an indefinite period of time in

the future.

        26.     As a further result of this accident, Plaintiff has or may continue to in the future

incur other financial expenses or losses that he is entitled to recover.

        27.     As a further result of this accident, Plaintiff has suffered severe physical pain,

aches, fear, mental anguish, humiliation, inconvenience, and loss of life's pleasures, and he may

continue to suffer the same for an indefinite time in the future.

        WHEREFORE, Plaintiff, Eui Chung demands judgment in his favor and against Mitchell

McCreery and Ocean Home Health Supply, LLC, jointly and severally, for compensatory

damages in excess of Hundred Thousand Dollars ($100,000), plus fees, costs and expenditures,

interest, and any further relief as is just and appropriate.

                                      COUNT III
                                LOSS OF CONSORTIUM
                         ARLENE CASTILLO V. ALL DEFENDANTS

        29.     Plaintiffs repeat each and every allegation of all preceding paragraphs as though

set forth herein at length.
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         30.    As a further result of the tortious conduct of all the defendants named herein,

Arlene Castillo, suffered, and will continue to suffer for an indefinite time in the future, loss of

the services, society, companionship, and consortium of her husband, Eui Chung.

        WHEREFORE, Plaintiff, Arlene Castillo, demands judgment in her favor and against

Mitchell McCreery and Ocean Home Health Supply, LLC, jointly and severally, in an amount in

excess of Hundred Thousand Dollars ($100,000), plus fees, costs and expenditures, interest, and

any further relief as is just and appropriate.



                                                 Respectfully submitted:




                                                 _________________________________
                                                 Robert J. Birch, Esquire
                                                 617 Swede Street
                                                 Norristown, PA 19401
                                                 PH: 610-277-9700
                                                 FAX: 610-277-2403




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